     Case 1:02-cr-00045-MP-GRJ        Document 194      Filed 12/21/11    Page 1 of 1


                                                                                  Page 1 of 1


                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

USA,

       Plaintiff,

v.                                                    CASE NO. 1:02-cr-00045-MP-AK-3

CRAIG CHARLES BOLLES,

       Defendant.

_____________________________/

                                        ORDER

       This matter is before the Court on doc. 193, Motion for Relief from Judgment or

Order Pursuant to Rule 60(b)(6) by Craig Charles Bolles. The defendant seeks relief

from the Court’s order vacating judgment and re-imposing sentence, doc. 177, and the

Court’s order denying de novo review of his § 2255 motion to vacate, doc. 189.

       Accordingly, it is now ORDERED as follows:

       1.      The government is directed to respond to the defendant’s motion for relief
               on or before January 13, 2012.

       DONE AND ORDERED this 21st day of December, 2011.



                                          áBZtÜç eA ]ÉÇxá
                                          GARY R. JONES
                                          United States Magistrate Judge
